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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

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 Attorneys for Defendant GC Services Limited Partnership
 ____________________________________
 JONATHAN O. DAYE, individually and on :
 behalf of those similarly situated,   :
                                       :
                            Plaintiff, :
              v.                       : Case No. 3:21-cv-07981-MAS-TJB
                                       :
 GC SERVICES LIMITED                   :
 PARTNERSHIP,                          :
                            Defendant. :
 ____________________________________

  GC SERVICES LIMITED PARTNERSHIP’S ANSWER TO PLAINTIFF’S
    CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Defendant GC Services Limited Partnership (“GC Services”), for its answer

 to the Complaint of Plaintiff Jonathan O. Daye (“Plaintiff’s Complaint”), denies

 each and every allegation contained therein except any allegations which may be

 hereinafter specifically admitted. For further answer, utilizing the same paragraph

 numbering as utilized in Plaintiff’s Complaint, GC Services alleges and states as

 follows:
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              I.       ANSWER TO PLAINTIFF’S COMPLAINT

                        Response to I. Nature of the Action

       1.    The allegations contained in Paragraph 1 are argumentative and state a

 legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

                                Response to II. Parties

       2.    The allegations contained in Paragraph 2 are argumentative and state

 legal conclusions as to “natural person” to which no response is required. To the

 extent a response is required, GC Services denies the same.

       3.    GC Services lacks sufficient information or knowledge to admit or deny

 the allegations contained in Paragraph 3 and, therefore, denies the same.

       4.    Admit.

                   Response to III. Legal Basis for FDCPA Claims

       5.    The allegations contained in Paragraph 5 and Schedule A are

 argumentative, contain incomplete recitations of the statutes cited, and state legal

 conclusions to which no response is required. To the extent a response is required,

 GC Services denies the same.

                        Response to IV. Allegations of Fact

       6.    The allegations contained in Paragraph 6 are argumentative and state a

 legal conclusion to which no response is required. To the extent a response is

 required, GC Services admits only that part of its business includes contacting


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 individuals who reportedly have amounts due and owing to others in an effort to

 obtain payment.

       7.       GC Services admits only that part of its business includes using mail

 and/or telephone to contact individuals in various locations, including the state of

 New Jersey, who reportedly have amounts due and owing to others in an effort to

 obtain payment.      GC Services denies any remaining allegations contained in

 Paragraph 7.

       8.       GC Services admits that a settlement offer letter was sent to Plaintiff

 dated February 20, 2020. GC Services admits that Exhibit A to Plaintiff’s Complaint

 appears to be a true and correct copy of that offer (other than redactions in Exhibit

 A). GC Services asserts that the language in the letter speaks for itself, yet portrays

 only a portion of the facts and circumstances involved in this case. GC Services

 denies the remaining allegations in Paragraph 8.

       9.       Admit.

       10.      GC Services lacks sufficient information or knowledge to admit or deny

 the allegations contained in Paragraph 10 and, therefore, denies the same.

       11.      The allegations contained in Paragraph 11 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services admits that the settlement offer letter sent to Plaintiff dated

 February 20, 2020 related to four accounts. GC Services asserts that the language in



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 the letter speaks for itself, yet portrays only a portion of the facts and circumstances

 involved in this case. GC Services denies the remaining allegations in Paragraph 11.

       12.    The allegations contained in Paragraph 12 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services admits that the letter attached as Exhibit A to Plaintiff’s

 Complaint appears to be a true and correct copy of the letter sent by GC Services to

 Plaintiff and asserts that the language in the letter speaks for itself, yet portrays only

 a portion of the facts and circumstances involved in this case.

       13.    The allegations contained in Paragraph 13 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       14.    GC Services admits that the letter attached as Exhibit A to Plaintiff’s

 Complaint appears to be a true and correct copy of the letter sent by GC Services to

 Plaintiff and asserts that the language in the letter speaks for itself. GC Services

 denies any remaining allegations in Paragraph 14.

       15.    GC Services admits that the letter attached as Exhibit A to Plaintiff’s

 Complaint appears to be a true and correct copy of the letter sent by GC Services to

 Plaintiff and asserts that the language in the letter speaks for itself. GC Services

 denies any remaining allegations in Paragraph 15.

       16.    Deny.



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       17.    The allegations contained in Paragraph 17 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       18.    The allegations contained in Paragraph 18 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       19.    The allegations contained in Paragraph 19 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services admits only Exhibit A to Plaintiff’s Complaint appears to be

 true and correct copies of the settlement offer letter sent dated February 20, 2020

 (other than redactions in Exhibit A). GC Services asserts that the language in the

 letter speaks for itself, yet portrays only a portion of the facts and circumstances

 involved in this case.

       20.    The allegations contained in Paragraph 20 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       21.    The allegations contained in Paragraph 21 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.




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       22.   The allegations contained in Paragraph 22 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       23.   The allegations contained in Paragraph 23 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       24.   The allegations contained in Paragraph 24 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       25.   The allegations contained in Paragraph 25 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.

       26.   GC Services admits that the letter attached as Exhibit A to Plaintiff’s

 Complaint appears to be a true and correct copy of the letter sent by GC Services to

 Plaintiff and asserts that the language in the letter speaks for itself. GC Services

 denies any remaining allegations in Paragraph 26.

       27.   The allegations contained in Paragraph 27 are argumentative and state

 a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies the same.




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                           Response to V. Class Allegations

       1.     GC Services admits that Plaintiff is asserting this claim pursuant to

 N.J.S.A. 4:32 and Fed. R. Civ. P. 23. GC Services denies that class treatment is

 proper or that Plaintiff is entitled to any relief being sought.

       2.     The allegations contained in Paragraph 2 and Schedule “B” state legal

 conclusions and purported definitions to which no response is required. To the extent

 a response is required, GC Services denies the same and further denies that class

 treatment is proper or that Plaintiff is entitled to any relief being sought.

       3.     Paragraph 3 contains argument only and no allegations that require a

 response. To the extent a response is required, GC Services denies that class

 treatment is proper or that Plaintiff is entitled to any relief being sought.

       4.     Deny.

       5.     The allegations contained in Paragraph 5, including all sub-paragraphs,

 state a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies that class treatment is proper or that Plaintiff is entitled

 to any relief being sought.

       6.     The allegations contained in Paragraph 6, including all sub-paragraphs,

 state a legal conclusion to which no response is required. To the extent a response is

 required, GC Services denies that class treatment is proper or that Plaintiff is entitled

 to any relief being sought.



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               Response to VI. Cause of Action for Violation of the FDCPA

         28.     GC Services incorporates by reference its answers to the allegations in

 Paragraphs 1 through 27, Paragraphs V.1-V.6 and all sub-paragraphs as if set forth

 fully herein.

         29.     The allegation contained in Paragraph 29 is argumentative, contains an

 incomplete recitation of the statute cited, and states a legal conclusion to which no

 response is required. To the extent a response is required, GC Services denies the

 same.

         30.     The allegation contained in Paragraph 30 is argumentative, contains an

 incomplete recitation of the statute cited, and states a legal conclusion to which no

 response is required. To the extent a response is required, GC Services denies the

 same.

         31.     The allegation contained in Paragraph 31 is argumentative, contains an

 incomplete recitation of the statute cited, and states a legal conclusion to which no

 response is required. To the extent a response is required, GC Services denies the

 same.

         32.     GC Services denies the allegations in Paragraph 32 and all sub-

 paragraphs.

         33.     Deny.




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                             Response to VII. Prayer for Relief

       34.    GC Services denies that Plaintiff is entitled to any relief requested in

 Paragraph 34, and all sub-paragraphs, including actual damages, statutory damages,

 interest, expenses or attorneys’ fees and denies that class certification in this matter

 is proper.

                              Response to VIII. Jury Demand

       35.    Paragraph 35 contains only a jury demand and does not require an

 admission or denial response

                       II.        AFFIRMATIVE DEFENSES

       For further answer to Plaintiff’s Complaint, GC Services alleges the following

 defenses. By asserting the matters below, GC Services does not assume the burden

 of proof on the allegations that do not constitute affirmative defenses and with regard

 to which Plaintiff bears the burden of proof.

       1.     Plaintiff has failed to state a claim upon which relief can be granted and

 should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

       2.     Plaintiff’s claims may be barred by the statute of limitations.

       3.     Plaintiff’s claims may be barred, in whole or in part, by the doctrines

 of latches, estoppel and/or waiver.

       4.     GC Services is not liable for any violation, even if one occurred,

 because the violation was not intentional, and if any violation occurred, it resulted



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 from a bona fide error notwithstanding GC Services’ maintenance of procedures

 reasonably adapted to avoid any such error.

       5.       Plaintiff cannot maintain this action as a class action because the

 proposed class is overly broad and unascertainable.

       6.       Plaintiff cannot maintain this action as a class action because there are

 no questions of fact or law common to the proposed class that predominate over any

 questions affecting only individual members.

       7.       Plaintiff cannot maintain this action as a class action because the

 representative party will not fairly and adequately protect the interests of the

 proposed class.

       8.       Plaintiff cannot maintain this action as a class action because the class

 action is not an appropriate method for the fair and efficient adjudication of this

 controversy.

       9.       Plaintiff cannot maintain this action as a class action because GC

 Services did not maintain common, uniform policies or practices applicable to the

 proposed class.

       10.      Class-wide final injunctive and/or declaratory relief is not appropriate

 in this case because GC Services has not acted or refused to act on grounds that are

 generally applicable to the putative class.

       11.      GC Services reserves the right to assert additional affirmative defenses.



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        WHEREFORE, GC Services requests that the Court deny all relief requested

 by Plaintiff and enter judgment in favor of GC Services on all of Plaintiff’s claims

 and that GC Services be awarded its taxable costs and all such other and further relief

 as the Court deems just and proper.

                         III.      DEMAND FOR JURY

        GC Services demands a jury pursuant to Fed. R. Civ. P. 38 for all issues so

 triable.

                         L. CIV. R. 11.2 DECLARATION

        Pursuant to Local Civil Rule 11.2 and 28 U.S.C. § 1746, the undersigned
 member of the bar of this Court hereby declares that the matter in controversy is not
 presently the subject of any other action pending in any other court, or of any pending
 arbitration or administrative proceeding.
                                  Respectfully submitted,

                                  KAUFMAN DOLOWICH & VOLUCK, LLP
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                                  Partnership

 Dated: April 23, 2021


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                          CERTIFICATE OF SERVICE

          I, MONICA M. LITTMAN, ESQUIRE, hereby certify that on this date I
 served a true and correct copy of the foregoing electronically via the Court’s
 CM/ECF system on the following:

                             Yongmoon Kim, Esquire
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                              Attorneys For Plaintiff


                                      /s/ Monica M. Littman
                                      MONICA M. LITTMAN, ESQUIRE

 Dated: April 23, 2021
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